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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   LIONRA TECHNOLOGIES LIMITED                   §
                                                 §
   v.                                            §          Case No. 2:22-CV-0322-JRG-RSP
                                                 §
   FORTINET, INC.                                §

                                    Pretrial Conference
                            MAG. JUDGE ROY PAYNE PRESIDING
                                       May 6, 2024
   OPEN: 9:02 am                                        ADJOURN: 3:05 pm

   ATTORNEYS FOR PLAINTIFF:                           See attached

   ATTORNEY FOR DEFENDANTS:                           See attached

   LAW CLERK:                                         Joshua Scheufler

   COURT REPORTER:                                    Ed Reed

   COURTROOM DEPUTY:                                  Becky Andrews

   Court opened. Case called. Andrea Fair introduced co-counsel and announced ready. Melissa
   Smith introduced co-counsel and announced ready for Palo Alto and Cisco.

   Jury Selection will be May 20, 2024, at 9:00 a.m. before Judge Gilstrap. The Court will keep the
   parties updated on the trial docket.

   Glen Summers spoke to the Court regarding whether Palo Alto or Cisco should be tried first.
   Brian Rosenthal responded for Cisco. Mark Lang responded for Palo Alto.

   Regarding the Palo Alto case, the parties will be allowed 11 hours of evidence per side. Each
   side will have 30 minutes for voir dire, 30 minutes for opening statements and 40 minutes for
   closing arguments. The trial management procedures in the Pretrial Order are acceptable to the
   Court.

   Brian Rosenthal argued an issue regarding exchanging demonstratives that will be used during
   closing arguments. Mr. Summers responded. The disclosure of the demonstratives shall be
   made not less than two hours before the closing arguments begin.

   The Court heard objections to witness lists. Luke Beasley and Mark Levine argued for Lionra.
   Mark Lang responded for Palo Alto.
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   The Court then heard arguments on the omnibus Motions in Limine. Andrea Fair, Mark Levine
   and Luke Beasley argued for Lionra. Ashbey Morgan and Brian Rosenthal argued for Cisco.
   Mark Lang argued for Palo Alto. The Court made rulings.

   The parties then argued objections to Defendant Palo Alto’s Motions in Limine. Nick Apel
   argued for Palo Alto. Mr. Beasley argued for Lionra. The Court made rulings.

   The parties then argued objections to Defendant Cisco’s Motions in Limine. Ms. Morgan and
   Mr. Rosenthal argued for Cisco. Mr. Beasley argued for Lionra. The Court made rulings.

   After the lunch break, Mr. Beasley updated the Court regarding the exhibit agreements. The
   parties then began argument on the remaining objections to exhibits. Ms. Morgan for Cisco.
   Mr. Beasley, Mr. Summers, Mr. Levine, and Mr. Parish for Lionra. Mr. Apel and Mr. Lang for
   Palo Alto. The Court made rulings.

   The Court informed the parties that if this case is reached on May 20th, the Cisco case will be first.

   The final pretrial conference will be held on May 16, 2024, at 11:00 a.m.
